        Case 5:21-cr-50014-TLB Document 162                           Filed 05/27/22 Page 1 of 7 PageID #: 3889
AO 2458 (Rev . 09/19)   Judgment in a Criminal Case
                        Sheet I



                                         UNITED STATES DISTRICT COURT
                                        Western District of Arkansas
                                                      )
               UNITED STATES OF AMERJCA               )     JUDGMENT IN A CRIMINAL CASE
                          v.                          )
                                                      )
                                                      )     Case Number:             5:2 ICR50014-00I
                 JOSHUA JAMES DUGGAR                  )     USM Number:              42501-509
                                                      )
                                                      )     Justin Gelfand, Travis Wayne Story, & Ian Talbot Murphy
                                                      )     Defendant' s Attorney(s)
THE DEFENDANT:
D   pleaded guilty to count(s)

D   pleaded nolo contendere to count(s)
    which was accepted by the court.

[8J was found guilty on count(s) One (I) of the Indictm ent on May 25, 2021 .
    after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                   Offense Ended
18 U.S.C. §§ 2252A(a)(2)          Receipt of Child Pornography                                          05/ 16/20 19
and (b)(I)




       The defendant is sentenced as provided in pages 2 through       _ _7:___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

D   The defendant has been found not guilty on count(s)

D   Count(s)
               ------------ D                             is     D   are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution , the defendant must notify the court and United States attorney of material changes in economic circumstances.




                                                                       Honorable Timothy L. Brooks, United States District Judge
                                                                       Name and Title of Judge
              Case 5:21-cr-50014-TLB Document 162                            Filed 05/27/22 Page 2 of 7 PageID #: 3890
AO 2458 (Rev . 09/ 19)   Judgment in Criminal Case
                         Sheet 2 - Imprisonment
                                                                                                     Judgment -   Page   2    of   7
 DEFENDANT:                      JOSHUA JAMES DUGGAR
 CASE NUMBER:                    5:21CR50014-00I

                                                                 IMPRISONMENT

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:      one hundred fifty-one (151) months.



       1:8J The court makes the following recommendations to the Bureau of Prisons:
                   I.    That the defendant be designated to its facility in Seagoville or Texarkana, to the extent that there is
                         bedspace available in the defendant's classification level; and
                  2.     That the defendant be allowed to participate in the BOP's sex offender treatment program.




       l:8l   The defendant is remanded to the custody of the United States Marshal.

       D      The defendant shall surrender to the United States Marshal for this district:

              D   at                                 D   a.m .    D   p.m.        on

              D   as notified by the United States Marshal.

       D      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

              D   before 2 p.m. on

              D   as notified by the United States Marshal.

              D   as notified by the Probation or Pretrial Services Office.



                                                                      RETURN
I have executed this judgment as follows:




              Defendant delivered on                                                      to

at       _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                   UNIT ED ST ATES MARSH AL




                                                                             By
                                                                                               DEPUTY UNIT ED ST ATES MARSHAL
          Case 5:21-cr-50014-TLB Document 162                        Filed 05/27/22 Page 3 of 7 PageID #: 3891
AO 245B (Rev . 09/ 19) Judgment in a Criminal Case
                        Sheet 3 - Supervised Release
                                                                                                    Judgment- Page _ _
                                                                                                                     3_      of        7
DEFENDANT:                  JOSHUA JAMES DUGGAR
CASE NUMBER:                5:21CR50014-001
                                                        SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: twenty (20) years.




                                                       MANDATORY CONDITIONS
I.   You must not commit another federal , state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court.
             ~ The above drug testing condition is suspended, based on the court's determination that you
               pose a low risk of future substance abuse. (check if applicable)
4.    D    You must make restitution in accordance with 18 U .S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.    ~ You must cooperate in the collection of DNA as directed by the probation officer. (check         if applicable)
6.    ~ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U .S.C. § 2090 I, et seq.) as
           directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
           reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    D    You must participate in an approved program for domestic violence. (check    if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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AO 245B (Rev . 09/1 9)   Judgment in a Criminal Case
                         Sheet 3A - Supervised Release
                                                                                               Judgment- Page -----'-4_ _ of - - ~7_ __
DEFENDANT:                     JOSHUA JAMES DUGGAR
CASE NUMBER:                   5:21 CRS00 14-00 I

                                       ST AND ARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.      You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
       release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
       time frame .
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
       the court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least IO days before the change. If
       notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer
       within 72 hours of becoming aware ofa change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
       to take any items prohibited by the conditions of your supervision that he or she observes in plain view .
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
       from doing so. If you do not have full-time employment you must try to find full -time employment, unless the probation officer
       excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least
        IO days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted ofa felony , you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours .
I 0.   You must not own , possess, or have access to a firearm , ammunition, destructive device, or dangerous weapon (i.e. , anything that
       was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
       tasers) .
11 .   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
       require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You must follow the instructions of the probation officer related to the conditions of supervision .




U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www .uscourts.gov.



Defendant's Signature                                                                                   Date
                                                                                                               ------------
             Case 5:21-cr-50014-TLB Document 162                   Filed 05/27/22 Page 5 of 7 PageID #: 3893
AO 245B (Rev. 09/ 19)   Judgment in a Criminal Case
                        Sheet 3D - Supervised Release
                                                                                                Judgment- Page _ _
                                                                                                                 5 _ of         7
DEFENDANT:                   JOSHUA JAMES DUGGAR
CASE NUMBER:                 5:21 CRS00 14-00 I

                                           SPECIAL CONDITIONS OF SUPERVISION

1.        The defendant shall have no unsupervised contact with minors, which shall include his own children. Contact with his
          children must be supervised by his wife, his parents, or another individual approved by the U.S. Probation Office. If
          there is a concern about the potential for inadvertent contact with a minor at a particular place, function, or event, then
          the defendant shall get approval from the U.S. Probation Office before attending any such place, function, or event.

2.        The defendant shall submit his person, residence, place of employment, vehicle, papers, computer, other electronic
          communication or data storage devices or media, and effects to a search conducted by the U.S. Probation Office at a
          reasonable time and in a reasonable manner based upon any reasonable suspicion that a violation of any condition of
          supervised release might thereby be disclosed .

3.        The defendant shall not possess, use, or have access to a computer or any other electronic device that has Internet or
          photograph storage capabilities without prior advance notice and approval of the U.S. Probation Office. Reasonable
          requests by the defendant for such approval should not be denied, provided that the defendant allows the U.S.
          Probation Office to install Internet-monitoring software, the defendant pays for the software, and the defendant submits
          to random searches of his computers, electronic devices, and peripherals. Reasonable requests to use an employer's
          computer on the employer's premises should be granted as well, provided that the employment is not self-employment
          or employment with a person or entity that is closely affiliated with the defendant.

4.        The defendant shall not purchase, possess, use, distribute, or administer marijuana or obtain or possess a medical
          marijuana card or prescription. If the defendant is currently in possession of a medical marijuana card, he will turn it
          over immediately to the probation office.

5.        The defendant shall participate in a sex offense-specific treatment program. The defendant shall pay for the costs of the
          program if financially able.

6.        The defendant shall not access or view pornography of any kind, including adult pornography.

7.        The defendant shall be required to submit to periodic polygraph testing at the discretion of the probation office as a
          means to ensure that he is in compliance with the requirements of his supervision or treatment program. However,
          polygraph testing results shall not be admissible in a revocation proceeding.
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                                 Judgment - Page    6      of         7
DEFENDANT:                            JOSHUA JAMES DUGGAR
CASE NUMBER:                          5:21CR50014-00I
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                   Assessment                  Restitution                       Fine                      AV AA Assessment*           JVT A Assessment**
TOTALS         $ 35, 100.00               $    -0-                         $     10,000.00             $   -0-                       $ 5,000.00


 D    The determination of restitution is deferred until        - - - - -. An Amended Judgm ent in a Criminal Case (A O 245C) will be
      entered after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S .C. § 3664{i), all nonfederal victims must be paid
      before the United States is paid.

Name of Payee                                 Total Loss***                              Restitution Ordered                       Priority or Percentage




TOTALS

D     Restitution amount ordered pursuant to plea agreement $


D     The defendant must pay interest on restitution and a fine of more than $2 ,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 36 I 2(t). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


C8l   The court determined that the defendant does not have the abi lity to pay interest and it is ordered that:

      [8J the interest requirement is waived for the            [8J       fine     D    restitution.

      D   the interest requirement for the         D     fine         D        restitution is modified as follows :

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015 , Pub. L. No. 114-22.
*** Findings for the total amount of losses are required under Chapters I 09A , I I0, 11 OA, and 113A of Title                18 for offenses committed on
or after September 13 , 1994, but before April 23 , 1996.
           Case 5:21-cr-50014-TLB Document 162                               Filed 05/27/22 Page 7 of 7 PageID #: 3895
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 - Schedu le of Pavments
                                                                                                           Judgment -   Page     7     of       7
 DEFENDANT:                 JOSHUA JAMES DUGGAR
 CASE NUMBER:               5:21 CRS00 14-001

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant' s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    1:8] Lump sum payment of$           50 100.00             due immediately, balance due

           □      not later than                                    , or
           1:8]   in accordance with     □    C     □    D,
                                                                □    E, or     1:8] F below; or

 B    □    Payment to begin immediately (may be combined with                □ c,       OD, or      D   F below); or

C     D    Payment in equal       _ _ __ _ (e.g. , weekly, monthly, quarterly) installments of $  _ _ _ _ _ _ _ over a period of
                          (e.g , months or years), to commence _ _ _ _ _ (e.g , 30 or 60 days) after the date of this judgment; or

 D    D    Payment in equal        _ _ _ _ _ (e.g. , weekly, monthly, quarterly) installments of $ _ _ _ _ _ _ _ over a period of
                          (e. g , months or years) , to commence _ _ _ _ _ (e.g, 30 or 60 days) after release from imprisonment to a
           term of supervision ; or

 E    D    Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
           imprisonment. The court wi ll set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    1:8] Special instructions regarding the payment of criminal monetary penalties:
           If not paid immediately, any unpaid financial penalty shall be paid by the defendant during his term of imprisonment at a rate of up
           to 50% of the defendant ' s avai lable funds, in accordance with the Inmate Financial Responsibility Program . During residential
           reentry placement, payments will be I 0% of the defendant's gross monthly income, The payment of an y remaining balance shall
           become a condition of supervised release and shall be paid in monthly installments of $500.00 or 15% of the defendant' s net
           monthly household income, whichever is greater, with the entire balance to be paid in full no later than one month prior to the end of
           the period of supervised release.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prison s'
Inmate Financial Responsibility Program , are made to the c lerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D     Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                       Joint and Several                 Corresponding Payee,
      (including defendant number)                            Total Amount                        Amount                           if appropriate




D     The defendant shall pay the cost of prosecution.

D     The defendant shall pay the following court cost(s):

D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (I) assessment, (2) restitution principal , (3) restitution interest, (4) A VAA assessment, (5)
fine principal, (6) fine interest, (7) community restitution , (8) JVT A assessment, (9) penalties, and (I 0) costs, including cost of prosecution
and court costs.
